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SHUIRUPHGDQGFRQWLQXHWRSHUIRUPWKHZRUNRIFRPPRQGLVFRYHU\RIUHWDLQLQJGHYHORSLQJDQG

TXDOLI\LQJH[SHUWVRISUHSDULQJDQGWU\LQJPXOWLSOHEHOOZHWKHUFDVHVDQGRIQHJRWLDWLQJFRPSOH[

QDWLRQDOVHWWOHPHQWVWKDWSURYLGHELOOLRQVRIGROODUVLQDEDWHPHQWUHFRYHULHVWRIHGHUDODQGVWDWH

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         7KLVFRPPRQEHQHILWZRUNZKLFKWKH&RXUWKDVFKDUJHGDSSRLQWHGFRXQVHOWRXQGHUWDNH

LVDQDEVROXWHQHFHVVLW\DQGVHUYHVWKHLQWHUHVWVRIQRWRQO\WKHOLWLJDQWVEXWDOVRWKH&RXUWDQGWKH

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ODUJHZKRDUHHQWLWOHGWRWKHLUFKDQFHDWDFFHVVWRXQLPSDFWHGFRXUWV´In re Air Crash Disaster

at Florida Everglades)GDW WK&LU 



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         7KLV FRPPRQ EHQHILW ZRUN PXVW DQG ZLOO FRQWLQXH LQ WKLV 0'/ LQ RUGHU WR IXOILOO WKH

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LQWHUHVWHGSDUWLHVZLOOEHHTXLWDEO\VSUHDGDPRQJDOOEHQHILFLDULHVDVDXWKRUL]HGDQGHVWDEOLVKHG

E\ WKH 8QLWHG 6WDWHV 6XSUHPH &RXUW LQ LWV FRPPRQ EHQHILW GRFWULQH DQG DV UHDIILUPHG LQ WKH

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GRFWULQHHQWLWOHVSODLQWLIIV¶DWWRUQH\VWRDQDZDUGEH\RQGWKHLURZQFRQWLQJHQWIHHVDVVHVVHGIURP

IXQGV SDLG LQ MXGJPHQWV DQG VHWWOHPHQWV WKDW WKHLU OLWLJDWLRQ HIIRUWV KHOS WR VHFXUH  See, e.g.

Central R.R. & Banking Co. v. Pettus  86     Sprague v. Ticonic Nat’l

Bank  86    Boeing Co. v. Van Gemert  86    In re Air Crash

Disaster at Florida Everglades on Dec. 29, 1972)G WK&LU In re Diet Drugs

)G G&LU In re General Motors LLC Ignition Switch Litig.)

6XSSG 6'1< In re Vioxx Prods. Liab. Litig.)6XSSG ('/D

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FRPPRQEHQHILWZRUNDUHLQFHQWLYL]HGWRGRVRZLWKUHDVRQDEOHH[SHFWDWLRQRIUHLPEXUVHPHQWDQG

FRPSHQVDWLRQ IRU WKHLU HIIRUWV  7KH &RXUW KDV DOZD\V DQWLFLSDWHG WKDW D SRUWLRQ RI FRXQVHO¶V

UHPXQHUDWLRQZLOOLQFOXGHUHDVRQDEOHDVVHVVPHQWVOHYLHGXSRQMXGJPHQWVDQGVHWWOHPHQWVWKDWUHO\

XSRQFRPPRQEHQHILWZRUN



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         7KH HDUOLHU FRPPRQ EHQHILWUHODWHG RUGHUV RI WKLV &RXUW DOO RI ZKLFK UHPDLQ LQ HIIHFW

LQFOXGH Order Regarding Plaintiff Attorneys’ Fees and Expenses GRFNHW QR   Order

Establishing Common Benefit Fee Fund and Directing Certain Payments GRFNHWQR Order

Appointing Certified Public Accountant to Maintain and Act as Escrow Agent for the Common

Benefit Fee Fund GRFNHWQR Order Regarding Contingency Fees GRFNHWQR Order

to Establish Qualified Settlement Fund, Appoint Panel of Common Benefit and Contingency Fee

Fund Arbiters, Approve Fee Fund Allocation and Distribution Process, and Approve Common

Benefit Cost Payment and Assessment GRFNHW QR   Order Regarding Fee Panel, Fund

Administrator and Assistants GRFNHWQR Order Appointing Fee Committee and Addressing

Related Matters GRFNHW QR   DQG Order Establishing Application Protocols for

Reimbursement of Common Benefit Attorneys’ Fees Under the Janssen and Distributors

Settlement Agreements GRFNHWQR 

         7KLV 2UGHU GRHV QRW DEURJDWH DQ\ RI WKRVH HDUOLHU 2UGHUV  ,W SURYLGHV DQ RQJRLQJ

IUDPHZRUNDQGVWUXFWXUHWRDSSO\WKHFRPPRQEHQHILWGRFWULQHWR2SLRLG&DVHVWKDW  DUHQRW

EURXJKWE\6WDWH$WWRUQH\V*HQHUDODQG  DUHQRWRWKHUZLVHLQFOXGHGLQJOREDOVHWWOHPHQWVWKDW

KDYHWKHLURZQQHJRWLDWHG&RXUWDSSURYHGFRPPRQEHQHILWIHHVDQGFRVWVWUXFWXUHV)RUH[DPSOH

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  ³2SLRLG&DVHV´LVGHILQHGDV³OLWLJDWLRQLQDQ\FRXUWWKURXJKRXWWKH8QLWHG6WDWHVLQYROYLQJWKHPDUNHWLQJ
GLVWULEXWLRQVDOHRUXVHRI2SLRLGUHODWHGGUXJV´ARCOS Protective OrderDW GRFNHWQR 
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JRYHUQPHQWDOVXEGLYLVLRQVSDUWLFLSDWLQJLQWKHVHJOREDOVHWWOHPHQWV RUWKHLUFRXQVHO LVQHFHVVDU\

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          1RWDEO\RYHUWZR\HDUVDJRWKH3(&PRYHGIRUHQWU\RIDQ2UGHUHVWDEOLVKLQJDFRPPRQ

EHQHILW IHH IXQG see GRFNHW QR  DQG WKH &RXUW ³LQYLWHG DQ\ LQWHUHVWHG SDUW\ WR ILOH DQ

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RISRVLWLRQSDSHUV see id.DWQDQGQ OLVWLQJVXEPLVVLRQV DVZHOODVD5HSRUWIURPWKH

&RXUW¶VH[SHUWFRQVXOWDQWDWWKHWLPH3URIHVVRU:LOOLDP%5XEHQVWHLQseeGRFNHWQR$IWHU

SURORQJHG DQG VHULRXV FRQVLGHUDWLRQ WKH &RXUWGHFOLQHG WRHQWHUDQ 2QJRLQJ &RPPRQ %HQHILW

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Denying Without Prejudice the PEC’s Motion for Common Benefit Fee Order GRFNHWQR 

    HPSKDVLVDGGHG ,QWKDW2UGHUWKH&RXUWREVHUYHG

          >7@KHUH LV D ZLGH FRQVHQVXV FRQILUPLQJ WKH DFFXUDF\ RI WKH 3(&¶V
          VWDWHPHQWV WKDW   ³VFRUHV RI DWWRUQH\V IURP WKH 3(& ILUPV DQG RWKHUV´
          KDYH³SHUIRUPHG>ZRUN@IRUWKHFRPPRQEHQHILWRISODLQWLIIVLQWKH>0'/@
          SURFHHGLQJV´DVZHOODVLQRWKHURSLRLGFDVHVDQG  WKRVHDWWRUQH\VDUH
          HQWLWOHGWRVRPHPHDVXUHRI³UHLPEXUVHPHQWDQGFRPSHQVDWLRQRIH[SHQVHV
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          ZKHWKHUHQWU\RIDFRPPRQEHQHILWRUGHULVDSSURSULDWHat this time7KH
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          XQLIRUPO\ WKDW JLYHQ FXUUHQW VHWWOHPHQW QHJRWLDWLRQV WKH\ DQWLFLSDWH D
          JOREDOVHWWOHPHQWZLOOSUREDEO\PRRWWKHQHHGIRUDFRPPRQEHQHILWRUGHU
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  7REHFOHDUFRXQVHOIRUDSDUWLFLSDWLQJVXEGLYLVLRQRZHVQRDGGLWLRQDOFRPPRQEHQHILWFRQWULEXWLRQrelated to the
participating subdivision.,IWKHVDPHFRXQVHODOVRUHSUHVHQWVDnon-SDUWLFLSDWLQJVXEGLYLVLRQVWKHQFRXQVHOdoes
RZHDFRPPRQEHQHILWDVVHVVPHQWUHODWHGWRDQ\HYHQWXDOUHFRYHU\E\WKDWQRQSDUWLFLSDWLQJVXEGLYLVLRQSee
Order to Establish Qualified Settlement Fund, Appoint Panel of Common Benefit and Contingency Fee Fund
Arbiters, Approve Fee Fund Allocation and Distribution Process, and Approve Common Benefit Cost Payment and
AssessmentDW GRFNHWQR 
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  7KH&RXUWKDVUHYLHZHGDJDLQDOORIWKHVHVXEPLVVLRQVLQSUHSDUDWLRQIRUGUDIWLQJWKLV2UGHU




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IdDW FLWDWLRQVRPLWWHGHPSKDVLVLQRULJLQDO 

         $ERXWRQH\HDUODWHUWKH³%LJ´'LVWULEXWRUVDQG-DQVVHQDQQRXQFHGFRQGLWLRQDOJOREDO

VHWWOHPHQWVZLWK JRYHUQPHQWDOHQWLW\ SODLQWLIIV 7KHVH PXOWLELOOLRQ GROODU VHWWOHPHQWV DUH QRZ

ILQDOL]HGDQGLQLWLDOVHWWOHPHQWSD\PHQWVZLOOEHJLQWRIORZVKRUWO\7KHVHVHWWOHPHQWVDUHFRPSOH[

ZLWKLQWHQVHO\QHJRWLDWHGSDUWLFLSDWLRQSURYLVLRQVDQGIHHDQGFRVWVWUXFWXUHVLQFOXGLQJFRPPRQ

EHQHILWSURYLVLRQV7KLV&RXUWUHWDLQVDQRQJRLQJUROHLQVXSHUYLVLQJDQGHQIRUFLQJWKHVHFRPPRQ

EHQHILWUHODWHGDJUHHPHQWVDVUHIOHFWHGLQWKHDERYHOLVWHG2UGHUV

         ,Q DGGLWLRQ WR WKHVH WZR JOREDO VHWWOHPHQWV KRZHYHU YDULRXV 0'/ 'HIHQGDQWV KDYH

UHFHQWO\ HQWHUHG LQWR RWKHU VHWWOHPHQWV RI 2SLRLG &DVHV WKDW GR QRW LQFOXGH FRPPRQ EHQHILW

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JOREDO VHWWOHPHQWV LQ WKH IXWXUH VRPH RI ZKLFK PD\ QRW LQFOXGH VSHFLILF QHJRWLDWHG &RXUW

DSSURYHGDQGVXSHUYLVHGIHHDQGFRVWVWUXFWXUHVSURYLGLQJIRUDQHTXLWDEOHFRQWULEXWLRQWRZDUGV

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WLPHKDVQRZFRPHWRHQWHUDQ2QJRLQJ&RPPRQ%HQHILW2UGHUWKDWDSSOLHVWRFHUWDLQVHWWOHPHQWV

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EHVHFXUHGWKURXJKUHOLDQFHXSRQFRPPRQEHQHILWZRUNWKH&RXUWQRWHVWKDWUHFHQWFRPPHQWVE\

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LV ORRNLQJ WRZDUG WKH FRPSOHWLRQ RI WKLV &RXUW¶V 0'/ ZRUN DQG WR DVVXULQJ WKDW LWV RQJRLQJ

EHQHILWVDUHSURYLGHGWRVXEVHTXHQWUHODWHGFDVHVLQRUGHUWRDYRLGGXSOLFDWLYHZRUNDQGFRVWV,Q

DQ2UGHULVVXHGDIHZZHHNVDJRWKH3DQHOVWDWHG

          >&@RPPRQGLVFRYHU\KDVODUJHO\EHHQFRPSOHWHGVHYHUDOEHOOZHWKHUWULDOV
          KDYH EHHQ SUHSDUHG DQG D EHOOZHWKHU UHPDQG SURFHVV HVWDEOLVKHG  $QG
          P\ULDGFODLPVKDYHEHHQUHVROYHGWKURXJKVXEVWDQWLDOVHWWOHPHQWV
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          WKHVDPHFRQGLWLRQVLPSRVHGRQWKHSDUWLHVWR0'/1RVKRXOGQRW
          EHDEOHWRDYDLOWKHPVHOYHVRIWKHGRFXPHQWVDQGGHSRVLWLRQVDFFXPXODWHG
          LQWKLV0'/7KHLQYROYHGFRXUWVPD\ILQGXVHIXOJXLGDQFHLQWKHQXPHURXV
          SUHWULDOUXOLQJVRIWKH+RQRUDEOH'DQ$3RVWHULQWKLVGRFNHW
                 7KH SDUWLHV DOVR FDQ HPSOR\ DOWHUQDWLYHV WR WUDQVIHU WR PLQLPL]H
          ZKDWHYHU LI DQ\ SRVVLELOLWLHV PD\ DULVH RI GXSOLFDWLYH GLVFRYHU\ RU
          LQFRQVLVWHQWSUHWULDOUXOLQJV7KXVHYHQDEVHQWWUDQVIHUPRVWRIWKHEHQHILWV
          RIWKH0'/DUHDYDLODEOHWRH[SHGLWHUHVROXWLRQRIWKHVHFDVHV
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In re: National Prescription Opiate Litig.&DVH0'/1R2UGHUDW GRFNHWQR 

    -30/$SU  FLWDWLRQVRPLWWHG 

          2IFRXUVHLI³WKHSDUWLHVLQVXEVHTXHQWDFWLRQV´DUHDEOHWR³DYRLGGXSOLFDWLYHGLVFRYHU\´

E\REWDLQLQJDFFHVVWR³WKHGRFXPHQWVDQGGHSRVLWLRQVDFFXPXODWHGLQWKLV0'/´±ZKLFKDUH

KRXVHGLQDQ0'/5HSRVLWRU\WKDWLVPDQDJHGDQGSDLGIRUE\WKH0'/3(&±WKRVHSDUWLHVDUH

WDNLQJDSSURSULDWHDGYDQWDJHRIZRUNE\RWKHUVWKDWLQXUHWRWKHLUDQGWKHFRPPRQEHQHILW$V

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,9      $VVXULQJ)XOO8VHDQG)DLU3D\PHQW)RU3DVWDQG2QJRLQJ&RPPRQ%HQHILW:RUN

          7KHFRVWVDGYDQFHGDQGWKHZRUNGHGLFDWHGE\WKH3(&WRSXUVXHWKHFRPPRQGLVFRYHU\

SUHWULDOSURFHHGLQJVDQGEHOOZHWKHUWULDOVLQWKLV0'/KDYHEHHQYLUWXDOO\XQSUHFHGHQWHGLQWKHLU

PDJQLWXGHDQGLQWHQVLW\FRQWLQXLQJ XQDEDWHGGXULQJ&29,' IRURYHUIRXU\HDUV

          8QOLNH PRVW 0'/V WKHUH DUH OLWHUDOO\ KXQGUHGV RI GLIIHUHQW 'HIHQGDQWV QDPHG LQ WKH

2SLRLG 0'/ FDVHV VHYHUDO RI ZKLFK DUH )RUWXQH  FRPSDQLHV  7KHUH DUH DOVR QXPHURXV

FDWHJRULHV RI 3ODLQWLIIV UDQJLQJ IURP LQGLYLGXDOV WR SULYDWH EXVLQHVVHV WR JRYHUQPHQWDO

VXEGLYLVLRQV7RSXUVXHDOORIWKHFODLPVLQWKLV0'/WKH3(&KDVVRIDUVLQFHLWVDSSRLQWPHQW

LQ)HEUXDU\  DGYDQFHGDERXW0LOOLRQLQFRPPRQEHQHILWDVVHVVPHQWVDQGLQFXUUHG

DERXW DQ DGGLWLRQDO  0LOOLRQ LQ KHOG FRVWV   FROOHFWHG DQDO\]HG DQG PDLQWDLQHG RYHU

WHUDE\WHVRIGLVFRYHU\IURP0'/GHIHQGDQWVWKLUGSDUWLHVEHOOZHWKHUSODLQWLIIVDQGRWKHU

H[KLELWV  WDNHQGHIHQGHGRUFROOHFWHGRYHUUHOHYDQWGHSRVLWLRQV  UHWDLQHGGHYHORSHG

DQGREWDLQHGUHSRUWVIURPRYHUVFLHQWLILFPHGLFDOSXEOLFKHDOWKDQGHFRQRPLFVH[SHUWV  

IXOO\SUHSDUHGWZREHOOZHWKHUFDVHVIRUWULDOLQWKH0'/&RXUW &DVH7UDFNV2QHDQG7ZR   

EHJXQSUHSDULQJDQRWKHUILYHEHOOZHWKHUFDVHV &DVH7UDFNV6HYHQWKURXJK(OHYHQ IRUWULDODQG

     VXSSRUWHGWULDORIIRXURWKHUEHOOZHWKHUFDVHVWKDWZHUHUHPDQGHGWRWUDQVIHURUFRXUWV 7UDFN

7ZRWR:HVW9LUJLQLD7UDFN)RXUWR&KLFDJR7UDFN)LYHWR2NODKRPDDQG7UDFN6L[WR6DQ

)UDQFLVFR 

          7KHWULDOUHDGLQHVVRIWKH7UDFN2QHEHOOZHWKHUFDVHLQ)DOORIFDWDO\]HGZKDWEHFDPH

WKH³%LJ´'LVWULEXWRUVDQG-DQVVHQQDWLRQDOVHWWOHPHQWVZRUWKDERXW%LOOLRQ,WLVHJUHJLRXV

XQGHUVWDWHPHQWWRREVHUYHWKDWWKLV%LOOLRQVHWWOHPHQWZKLFKSURYLGHVIXQGVWR6WDWHVDQGORFDO

JRYHUQPHQWVDFURVVWKHQDWLRQWRDEDWHWKH2SLRLG&ULVLVLQXUHGWRWKHFRPPRQEHQHILWRISDUWLHV

ZKRZHUHQRWOLWLJDWLQJLQ7UDFN2QHRUIRUWKDWPDWWHULQWKH0'/7KH3(&¶VZRUNKDVDOVR




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DVVLVWHG LQ WKH WULDO RI VWDWH FRXUW FDVHV EURXJKW E\ $WWRUQH\V *HQHUDO DQG YDULRXV FLWLHV DQG

FRXQWLHV VRPH RI ZKLFK KDYH VHSDUDWHO\ VHWWOHG IRU LQ WRWDO  URXJKO\ DQ DGGLWLRQDO  %LOOLRQ

    ZLWKRXWDQ\FRPPRQEHQHILWDVVHVVPHQW $WRWDORI0'/DFWLYHFDVHVKDYHEHHQGHVLJQDWHG

IRUWULDODJDLQVWRYHUDGR]HQGLIIHUHQW'HIHQGDQWIDPLOLHV7KHFRPPRQEHQHILWZRUNLVLQWHQVLYH

DQGRQJRLQJ

          7KH3(&VKRXOGQRWVROHO\EHDUWKHFRVWLQWLPHDQGPRQH\RIREWDLQLQJWKLVH[WHQVLYH

DQGHVVHQWLDOGLVFRYHU\SURGXFW7KHIUXLWVRIWKHODERUVH[SHQGHGSXUVXLQJFODLPVLQWKLV0'/

VKRXOGDQGKDYHDQGZLOOEHPDGHDYDLODEOHWRDOO2SLRLG&DVHSODLQWLIIVVXEMHFWWRDQDVVHVVPHQW

WKDWVSUHDGVWKHFRVWVHTXLWDEO\DPRQJDOOEHQHILFLDULHVZLWKRXWXSIURQWH[SHQVHWRWKHP

          0RUHRYHU WKH 0'/ Defendants DUH DOVR HQWLWOHG WR SURWHFWLRQ IURP FRVWO\ DQG WLPH

FRQVXPLQJGXSOLFDWLYHGLVFRYHU\GHPDQGV7KHVHDUHWKHYHU\GHPDQGVWKDW0'/FHQWUDOL]DWLRQ

XQGHU86&LVGHVLJQHGWRSUHYHQWE\SURYLGLQJWKDW±DVPXFKDVSRVVLEOH±FRPPRQ

GLVFRYHU\LVGRQHFRPSUHKHQVLYHO\RQFHUDWKHUWKDQPXOWLSOHWLPHV7KHGLVFRYHU\HIIRUWKDV

EHHQ DUGXRXV DQG H[SHQVLYH RQ ERWK VLGHV 7KH &RXUW PXVW EH FRQFHUQHG ZLWK FRQVHUYLQJ WKH

UHVRXUFHVRI'HIHQGDQWVDVZHOODV3ODLQWLIIV7KLV2QJRLQJ&RPPRQ%HQHILW2UGHUHQVXUHVWKDW

GLVFRYHU\ DQG OLWLJDWLRQ WDVNV RQFH FRPSOHWHG QHHG QRW EH UHSHDWHG DV WKHLU UHVXOWV DUH PDGH

DFFHVVLEOHWRDOO±ZLWKWKHFRVWVWKHUHRIHTXLWDEO\VSUHDG±LQOLHXRIUHSHWLWLYHH[SHQGLWXUHVRI

WLPHPRQH\DQGHIIRUW7KHSURYLVLRQVRIWKLV2UGHUDUHGHVLJQHGWRHQVXUHWKDW'HIHQGDQWVZLOO

QRWEHVXEMHFWHGWRZKROHVDOHUHSHWLWLRQRIGLVFRYHU\REOLJDWLRQVWKH\DOUHDG\PHWHLWKHULQFDVHV

UHPDQGHGWRWUDQVIHURU&RXUWVRULQIDFWXDOO\UHODWHGFDVHVLQRWKHUFRXUWVE\REOLJDWLQJWKH3(&




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WR PDLQWDLQ DQG PDNH DYDLODEOH WKLV GLVFRYHU\ SURGXFW VXEMHFW WR WKH DVVHVVPHQW WKLV 2UGHU

LPSRVHV

          7KLV&RXUWDVVLVWHGE\LWV&RXUWDSSRLQWHG6SHFLDO0DVWHUVKDVDFWLYHO\VXSHUYLVHGWKLV

FHQWUDOL]HG GLVFRYHU\ UHVROYLQJ GLVFRYHU\ GLVSXWHV HQWHULQJ P\ULDG GLVFRYHU\ UXOLQJV DQG

PDNLQJ VXUH WKDW GLVFRYHU\ KDV SURFHHGHG LQ D IDLU RUGHUO\ DQG SURSRUWLRQDO ZD\ XQGHU WKH

JXLGDQFH RI WKH IHGHUDO UXOHV WR IXOILOO WKH FRQVLVWHQF\ HIILFLHQF\ DQG FRQYHQLHQFH JRDOV RI

'HIHQGDQWVVKRXOGQRWEHVXEMHFWHGLQQRQ0'/OLWLJDWLRQWRGHPDQGVIRUGRFXPHQWVDQG

LQIRUPDWLRQ WKH\ KDYH DOUHDG\ SURGXFHG RU IRU GHSRVLWLRQV DQG UHSRUWV WKDW KDYH DOUHDG\ EHHQ

WDNHQDQGVXEPLWWHGLQ0'/1R$Q2QJRLQJ&RPPRQ%HQHILW2UGHUZLOOWKXVSURYLGH

IDLUQHVVWRDOO0'/SDUWLHV

          $XQLTXHDQGGUDPDWLFH[DPSOHRIWKH3(&¶VDFFRPSOLVKPHQWVLQWKLV0'/EHDUVQRWLQJ

(DUO\LQWKHOLWLJDWLRQWKH3(&VRXJKWRYHUWKHREMHFWLRQRIWKH8QLWHG6WDWHV'UXJ(QIRUFHPHQW

$JHQF\ ³'($´ WKHSURGXFWLRQWR0'/SODLQWLIIVRINH\GDWDFRPSLOHGLQWKH'($¶V$XWRPDWHG

5HFRUGV DQG &RQVROLGDWHG 2UGHUV 6\VWHP  'LYHUVLRQ $QDO\VLV DQG 'HWHFWLRQ 6\VWHP

    ³$5&26'$'6´  GDWDEDVH  ,Q D VHULHV RI 2UGHUV WKH &RXUW RUGHUHG WKH '($ WR SURGXFH

FRPSOHWHWUDQVDFWLRQDO$5&26GDWDIRUWKHSHULRGRI-DQXDU\WKURXJK'HFHPEHU

±ILUVWIRUVL[VWDWHV 2KLR:HVW9LUJLQLD,OOLQRLV$ODEDPD0LFKLJDQDQG)ORULGD DQGWKHQIRU

WKHUHPDLQLQJ6WDWHVDQG7HUULWRULHVSeeOrder Regarding ARCOS Data GRFNHWQR Second

Order Regarding ARCOS Data GRFNHWQR Third Order Regarding ARCOS Data GRFNHW

QR 




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 $FFRUGLQJO\LQDQ\FDVHUHPDQGHGE\WKLV&RXUWWRDQ\RWKHUFRXUW  'HIHQGDQWVDUHQRWUHTXLUHGWRUHSURGXFH
GRFXPHQWVRUHYLGHQFHWKH\SURGXFHGLQWKH0'/DQG  WKHSODLQWLIIV¶DFFHVVWRVXFKGRFXPHQWVRUHYLGHQFHDQG
WRDQ\0'/ZRUNSURGXFWLVVXEMHFWWRWKHSURYLVLRQVRIWKLV2QJRLQJ&RPPRQ%HQHILW2UGHU




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           7KH '($ SURGXFHG $5&26 GDWD WR WKH 3(& LQ HVVHQWLDOO\ UDZ IRUP  7KH 3(& WKHQ

RUJDQL]HG SURJUDPPHG DQDO\]HG DQG UHSRUWHG WKLV GDWD DW JUHDW H[SHQVH $V WKLV &RXUW KDV

SUHYLRXVO\REVHUYHGWKHUHVXOWLQJGHWDLOHGDQGYDVWO\PRUHXVHUIULHQGO\GDWDEDVHUHDGLO\VKRZV

³WKH QXPEHU RI RSLRLG SLOOV GHOLYHUHG WR HDFK &LW\ DQG &RXQW\ LQ $PHULFD SDUWLWLRQHG E\

PDQXIDFWXUHUDQGGLVWULEXWRUDQGSKDUPDF\´Second Order Regarding ARCOS Data DW GRFNHW

QR 7KLVLQIRUPDWLRQKDVSURYHG³HVVHQWLDO´LQHQDEOLQJWKHSDUWLHVLQIHGHUDODQGVWDWHFRXUW

2SLRLG&DVHVWRFRUUHFWO\LGHQWLI\GHIHQGDQWVILOHDQGDPHQGFRPSODLQWVGHVLJQGLVFRYHU\EULQJ

DQGGHIHQGPRWLRQVGHYHORSGDPDJHVDQGDEDWHPHQWPRGHOVLQIRUPH[SHUWVSUHSDUHIRUWULDODQG

HQJDJHLQPHDQLQJIXOVHWWOHPHQWGLVFXVVLRQVId

           8OWLPDWHO\WKH3(&¶V³$5&26GDWDEDVH´DVSURGXFHGWRRUJDQL]HGZLWKLQDQGSURWHFWHG

E\WKLV&RXUWQRZYHVWVWKH&RXUWZLWKDFHQWUDOLW\WRWKHQDWLRQZLGHRSLRLGOLWLJDWLRQXQPDWFKHG

LQRWKHU0'/V7KHLQLWLDODQGRQJRLQJHIIRUWVRIWKH3(&WRREWDLQRUJDQL]HDQGDQDO\]HWKH

$5&26GDWDDQGPDNHLWDYDLODEOHLQPHDQLQJIXODQGXVHDEOHIRUPWRDOOSDUWLHVSURYLGHVDQ

LQGLVSHQVDEOHDQGXQLTXHO\EHQHILFLDOUHVRXUFHWRRSLRLGOLWLJDQWV7KHWLPHDQGRXWRISRFNHWFRVWV

WRGHYHORSWKLVFRPPRQUHVRXUFHPD\DQGVKRXOGEHHTXLWDEO\VSUHDGDPRQJDOOEHQHILFLDULHV

           7KLV&RXUWZKLFKKDVRQJRLQJMXULVGLFWLRQRYHUWKH$5&26GDWDSURGXFHGE\WKH'($

DV RUJDQL]HG DQDO\]HG DQG PDGH DYDLODEOH E\ WKH 3(& DQG WKLV &RXUW¶V SURWHFWLYH DQG FDVH

PDQDJHPHQW2UGHUVKDVWKHDXWKRULW\DQGPD\H[HUFLVHWKHGLVFUHWLRQWRFRQGLWLRQWKHXVHRIWKH

GDWDE\DOOSDUWLHVLQWKH0'/DQGWKHLUFRXQVHODQGDOOQRQ0'/OLWLJDQWVDQGWKHLUFRXQVHO RWKHU

WKDQWKH6WDWHV ZKRVHHNWRXVHLWIRUWKHLUQRQ0'/LQYHVWLJDWLRQVDQGFDVHVXSRQSD\PHQWRI

DEDFNHQGFRQWLQJHQWDVVHVVPHQW7KHVDPHLVWUXHRIWKHRWKHUGLVFRYHU\REWDLQHGDQGPDQDJHG

E\WKH3(&DQGUHVLGLQJLQWKH0'/5HSRVLWRU\


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    $FFHVVWRWKH$5&26GDWDFRQWLQXHVWREHJRYHUQHGE\WKH&RXUW¶VARCOS Protective Order GRFNHWQR 




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9     3DUWLHVDQG&RXQVHOWKDWZLOOEH$VVHVVHG

         )RU WKH UHDVRQV VHW RXW EHORZ WKLV 2QJRLQJ &RPPRQ %HQHILW 2UGHU ZLOO DSSO\ WR  

SODLQWLIIV ZLWK 2SLRLG &DVHV SHQGLQJ LQ RU UHPDQGHG IURP 0'/  DQG WKHLU FRXQVHO  

SODLQWLIIV¶FRXQVHOZKRKDYHVLJQHGD3DUWLFLSDWLRQ$JUHHPHQWZLWKUHVSHFWWRDQ\RIWKHLURSLRLG

FODLPVDQGSODLQWLIIV  RWKHUSODLQWLIIVDQGFODLPVUHSUHVHQWHGE\SODLQWLIIV¶FRXQVHOZLWK2SLRLG

&DVHV SHQGLQJ LQ RU UHPDQGHG IURP 0'/  DQG   RSLRLG FODLPV DQG SODLQWLIIV ZKHWKHU

LQVLGH RU RXWVLGH WKLV 0'/ WKDW KDYH UHOLHG XSRQ ZRUN SURGXFW GHYHORSHG ZLWKLQ 0'/ 

([FHSWHGIURPWKLVOLVWDUHFDVHVDQGFODLPVEURXJKWE\6WDWH$WWRUQH\V*HQHUDODQGFDVHVZKHUH

DJOREDOVHWWOHPHQWKDVLWVRZQ0'/&RXUW$SSURYHGFRPPRQEHQHILWVWUXFWXUH

         7KH&RXUW¶VDXWKRULW\RYHUWKHILUVWFDWHJRU\RISODLQWLIIVLVSODLQSeeIn re Diet Drugs

)G± UG&LU  ³7KH-XGLFLDO3DQHOIRU0XOWLGLVWULFW/LWLJDWLRQLVHPSRZHUHG

XQGHU  86&  WR WUDQVIHU UHODWHG FDVHV WR D VLQJOH FRXUW DQG WKDW FRXUW KDV²DQG LV

H[SHFWHGWRH[HUFLVH²WKHDELOLW\WRFUDIWDSODLQWLIIV¶OHDGHUVKLSRUJDQL]DWLRQWRDVVLVWZLWKFDVH

PDQDJHPHQW,QKHUHQWLQWKDWDELOLW\LVWKHSRZHUWRIDVKLRQVRPHZD\RIFRPSHQVDWLQJWKH

DWWRUQH\VZKRSURYLGHFODVVZLGHVHUYLFHV´ In re Avandia Mktg., Sales Pracs. & Prod. Liab.

Litig.)$SS¶[ UG&LU  VDPH see alsoIn re Air Crash Disaster at Fla.

Everglades on Dec. 29, 1972)G WK&LU 

         5HJDUGLQJWKHVHFRQGFDWHJRU\WKHUHLVDOVRQRTXHVWLRQWKDWDFRPPRQEHQHILWDVVHVVPHQW

XSRQD3ODLQWLII¶VDWWRUQH\LVDSSURSULDWHZKHQWKHDWWRUQH\DJUHHVWRLW3XUVXDQWWRDQ³2SLRLG

/LWLJDWLRQ3DUWLFLSDWLRQ$JUHHPHQW´WKH3ODLQWLIIV&R/HDG&RXQVHODQGWKH3(&KDYHDJUHHGWR

SURYLGH FRPPRQ EHQHILW ZRUN SURGXFW WR DQ\ VLJQDWRU\ ³3DUWLFLSDWLQJ &RXQVHO´  7KH &RXUW




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LQFRUSRUDWHVLQWRWKLV2UGHUWKLV3DUWLFLSDWLRQ$JUHHPHQWDQGWKHREOLJDWLRQVLWFRQWDLQVWKDWDUH

LPSRVHGXSRQ&R/HDG&RXQVHODQGWKH3(&DQG3DUWLFLSDWLQJ&RXQVHO

         :LWKUHVSHFWWRWKHWKLUGDQGIRXUWKFDWHJRULHVWKLV&RXUWHDUOLHUQRWHGWKDWWKHSURSULHW\RI

³FRPPRQEHQHILWIHHDVVHVVPHQWVRQDWWRUQH\VZLWKFDVHVQRWEHIRUHWKH0'/MXGJHLVDQXQVHWWOHG

LVVXH´Order Regarding Contingency FeesDWQ GRFNHWQR 7KDWVDLGWKHUHLVDPSOH

DXWKRULW\ IRU WKH SURSRVLWLRQ WKDW FRPPRQ EHQHILW IHH DVVHVVPHQWV RQ DWWRUQH\V ZLWK FDVHV QRW

EHIRUHWKH0'/MXGJHLVSHUPLWWHGDQGDSSURSULDWHLQFHUWDLQFLUFXPVWDQFHVSee In re Avandia

Mktg., Sales Pracs. & Prod. Liab. Litig.)$SS¶[ UG&LU In re Gen. Motors

LLC Ignition Switch Litig.)6XSSG 6'1<  DOORZLQJWKHDVVHVVPHQW 

         )RU H[DPSOH ZLWK UHVSHFW WR WKH WKLUG FDWHJRU\ WKH &RXUWKDVDXWKRULW\ RYHU SODLQWLIIV¶

FRXQVHOE\DQGWKURXJKWKHLU0'/FDVHV0'/FRXUWVXVLQJWKHLUHTXLW\SRZHUVZKHQDSSO\LQJ

WKHFRPPRQEHQHILWGRFWULQHUHJXODUO\H[WHQGWKDWDXWKRULW\RYHUFRXQVHO¶VRWKHUQRQ0'/FDVHV

LQRUGHUWR³SUHHPSW>@DQH[WUHPHYHUVLRQRIWKHIUHHULGHUSUREOHPWKHODZ\HUZKRILOHVRQO\RQH

FDVHLQWKH0'/WRJDLQDFFHVVWRFRPPRQEHQHILWZRUNDQGWKHQOHYHUDJHVWKHNQRZOHGJHJDLQHG

IURPWKDWZRUNWRVHWWOHGR]HQVRUKXQGUHGVRIXQILOHGFODLPV´In re Gen. Motors LLC Ignition

Switch Litig.)6XSSG 6'1< 

         7KH&RXUWQRWHVWKDW0'/FRXUWVURXWLQHO\FDXWLRQDJDLQVWH[HUFLVLQJDXWKRULW\WRLPSRVH

FRPPRQEHQHILWDVVHVVPHQWVRQQRQ0'/FDVHVactually filedLQVWDWHFRXUWVGXHWRUHVSHFWIRU

SULQFLSOHVRIFRPLW\DQGEHFDXVHVWDWHFRXUWVFDQH[HUFLVHWKHLURZQDXWKRULW\RYHUWKRVHSODLQWLIIV

WRVROYHWKHIUHHULGHUSUREOHPSee id.see also In re Zyprexa Prods. Liab. Litig.)6XSSG

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  WK &LU   ,Q WKLV LQVWDQFH KRZHYHU WKLV &RXUW ILUPO\ EHOLHYHV WKDW OHY\LQJ D

FRPPRQEHQHILWWD[XSRQWKLVFDWHJRU\RI3ODLQWLIIVDQGWKHLUFRXQVHOLVFUXFLDOEHFDXVHRI  WKH




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YLUWXDOO\XQSUHFHGHQWHGH[SHQVHLQFXUUHGE\WKH3(&IRUWKHFRPPRQEHQHILWLQREWDLQLQJDQG

V\QWKHVL]LQJWKH$5&26GDWDDQG  WKHDEVROXWHO\HVVHQWLDOFKDUDFWHURIWKH$5&26GDWDLQ

DOORZLQJDQ\DQGDOORSLRLGSODLQWLIIVWRSURVHFXWHWKHLUFDVHVLQWKHILUVWSODFH,QRWKHUZRUGVWKH

SRWHQWLDOIUHHULGHUSUREOHPSUHVHQWLQWKH2SLRLG/LWLJDWLRQLVHYHQPRUHH[WUHPHWKDQDQ\WKLQJ

-XGJH)XUPDQFRQWHPSODWHGLQIn re General MotorsDQGLWZRXOGEHLQHTXLWDEOHLQWKHH[WUHPH

IRUWKLV&RXUWQRWWRUHPHG\WKDWSUREOHPWKURXJKWKLV2UGHU

         )LQDOO\ZLWKUHVSHFWWRWKHIRXUWKFDWHJRU\0'/FRXUWVDSSHDUYLUWXDOO\XQDQLPRXVRQ

WKHLU DXWKRULW\ WR VXEMHFW D UHFRYHU\ LQ D QRQ0'/ IRUXP WR DQ DSSURSULDWH DVVHVVPHQW LI WKH

SODLQWLIIV RU WKHLU FRXQVHO actually used FRPPRQ EHQHILW ZRUN SURGXFW  $V -XGJH )XUPDQ

REVHUYHG

                 7REHFOHDUWKH)LUPVGRQRWDSSHDUWRGLVSXWHWKDWLIWKH\DFWXDOO\XVHG
         &RPPRQ %HQHILW :RUN 3URGXFW LQ D VWDWHFRXUW RU XQILOHG FDVH WKH &RXUW KDV
         DXWKRULW\WRVXEMHFWDQ\UHFRYHU\LQWKHODWWHUWRDQDVVHVVPHQW7KDWLVIRUJRRG
         UHDVRQ DV WKH FRXUWV WKDW KDYH DGGUHVVHG WKH LVVXH DSSHDU WR EH XQDQLPRXV LQ
         XSKROGLQJDVVHVVPHQWVLQVXFKFLUFXPVWDQFHVSee, e.g., In re Prempro Prods. Liab.
         Litig.1R&9 %5: :/DW  ('$UN1RY
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         UHFRYHU\LQDQ\VWDWHRUIHGHUDOIRUXPWKHUHFRYHU\ZDVVXEMHFWWRDQDVVHVVPHQW´
          LQWHUQDOTXRWDWLRQPDUNVDQGEUDFNHWVRPLWWHG In re Fosamax Prods. Liab. Litig.
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         WR´DQDVVHVVPHQWSDUWRIZKLFKZDVWREH³VXEWUDFWHGIURPWKHFOLHQWSRUWLRQ´RI
         UHFRYHULHV In re Phenylpropanolamine Prods. Liab. Litig.0'/1R %-5 
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           QRWLQJWKDW³IRUVWDWHFDVHVLQZKLFKFRXQVHOZLVKHGWRDYDLOWKHPVHOYHV
         RIFRPPRQEHQHILWSURGXFWWKHUHZDVDWKUHHSHUFHQWKROGEDFN´ 

In re Gen. Motors LLC Ignition Switch Litig.)6XSSG± 6'1< 

         +HUHDVVWDWHGSUHYLRXVO\WKH3(&¶VZRUNLQREWDLQLQJDQGSURFHVVLQJWKH$5&26GDWD

LQSDUWLFXODUDQGSXUVXLQJDQGFROOHFWLQJWKHYDVWRWKHU2SLRLG&DVHGLVFRYHU\PRUHEURDGO\LVVR




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IXQGDPHQWDOWRWKLVFDWHJRU\RISODLQWLIIV¶FODLPVWKDWZKHWKHURUQRWWKH\VLJQHGD3DUWLFLSDWLRQ

$JUHHPHQW²RU WKH ARCOS Protective Order’s $FNQRZOHGJHPHQW RI 3URWHFWLYH 2UGHU DQG

$JUHHPHQWWREH%RXQGseeGRFNHWQR ²LWLVXQOLNHO\WKHLUFODLPVZRXOGKDYH

DQ\VHWWOHPHQWYDOXHRUOLNHOLKRRGRISRVLWLYHMXGJPHQWKDGWKHVHSODLQWLIIVQRWactually utilized

WKHZRUNWKH3(&GLGIRUWKHFRPPRQEHQHILW

         $FFRUGLQJO\ WKH &RXUW LPSRVHV D FRPPRQ EHQHILW DVVHVVPHQW XSRQ DPRXQWV SDLG LQ

VHWWOHPHQWRUMXGJPHQWLQWKHIRXUFDWHJRULHVRIFDVHVOLVWHGLQWKHILUVWSDUDJUDSKRIWKLV6HFWLRQ

([FHSWHGIURPDOORIWKHVHFDWHJRULHVDUHFDVHVDQGFODLPVEURXJKWE\6WDWH$WWRUQH\V*HQHUDODQG

FDVHVZKHUHDJOREDOVHWWOHPHQWKDVLWVRZQ0'/&RXUW$SSURYHGFRPPRQEHQHILWVWUXFWXUH

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9,     'HWHUPLQLQJ$Q$SSURSULDWH2QJRLQJ&RPPRQ%HQHILW$VVHVVPHQW$PRXQW

         :KHQDVVHVVLQJFRPPRQEHQHILWIHHVDQGFRVWVFRPELQHGGLVWULFWFRXUWVJHQHUDOO\DZDUG

D IL[HG SHUFHQWDJH RI HYHU\ UHFRYHU\ RIWHQ EHWZHHQ  DQG  DV SDUWLFXODU FLUFXPVWDQFHV

ZDUUDQWSee5XEHQVWHLQNewberg on Class ActionsDW7KH&RXUWFRQFOXGHVLW

LVDSSURSULDWHLQWKLVFDVHWRLPSRVHDKROGEDFNDVVHVVPHQWRIJRLQJIRUZDUG7KLVLVLQWKH

PDLQVWUHDPRI0'/DVVHVVPHQWVJHQHUDOO\DQGLVKHUHLPSRVHGLQDQ0'/ZKHUHWKHVFRSHDQG

PDJQLWXGHRIFRPPRQEHQHILWH[SHQGLWXUHVDQGHIIRUWLVYLUWXDOO\XQSDUDOOHOHGDQGLQZKLFKVXFK

FRVWV DQG HIIRUWV ZLOO EH RQJRLQJ IRU VRPH WLPH LQ FRQQHFWLRQ ZLWK GLVFRYHU\ WULDOV DQG WULDO

SUHSDUDWLRQLQ7UDFNVDQGLQFRRUGLQDWLRQZLWKUHODWHGDFWLRQVDOODVWKH3DQHOFRQWHPSODWHV

DQGH[SHFWV

         7KH&RXUWHDUOLHULPSRVHGDFRPPRQEHQHILWDVVHVVPHQWRQ  VHWWOHPHQWDPRXQWV

SDLG LQ 7UDFN 2QH see Order Establishing Common Benefit Fee Fund and Directing Certain

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 7REHFOHDUWKLVDVVHVVPHQWZLOOQRWEHLPSRVHGXSRQDQ\SD\PHQWGXHXQGHUDVHWWOHPHQWRUMXGJPHQWWKDWZDV
HQWHUHGEHIRUHWKHGDWHRIWKLV2UGHU




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Payments GRFNHW QR   DW  DQG   WKH JURVV UHFRYHU\ RI DQ\ VXEGLYLVLRQ WKDW GLG QRW

SDUWLFLSDWHLQWKHJOREDO'LVWULEXWRUVDQG-DQVVHQ6HWWOHPHQWVsee Order to Establish Qualified

Settlement Fund, Appoint Panel of Common Benefit and Contingency Fee Fund Arbiters, Approve

Fee Fund Allocation and Distribution Process, and Approve Common Benefit Cost Payment and

Assessment GRFNHWQR DW0RUHRYHULQKLVReportWRWKH&RXUWWZR\HDUVDJR3URIHVVRU

5XEHQVWHLQREVHUYHGWKDWWKHFRPPRQEHQHILWDVVHVVPHQWLQODUJH0'/V³LVJHQHUDOO\FDOFXODWHG

LQWKHUDQJHRIIRUIHHVDQGIRUFRVWV´ReportDW GRFNHWQR 7KXVWKHUHLV

DPSOHSUHFHGHQWIRULPSRVLWLRQRIDDVVHVVPHQW

         &RXUWDSSRLQWHG FRXQVHO KDYH WKH UHVSRQVLELOLW\ WR PDNH VXUH WKH EXUGHQV RI FRPPRQ

EHQHILW ZRUN DUH DOORFDWHG DPRQJ DOO EHQHILFLDULHV ERWK LQVLGH DQG RXWVLGH WKH FRXUW  7KLV LV

XVXDOO\GRQHWKURXJKWKHXVHRI3DUWLFLSDWLRQ$JUHHPHQWVSeeIn re Avandia Marketing, Sales

Practices and Prods. Liab. Litig.)HG$SS[ UG&LU  DIILUPLQJDQ2UGHU

³SHUPLW>WLQJ@WKH6WHHULQJ&RPPLWWHHWRHVVHQWLDOO\WUDGHZRUNSURGXFWIRUDVKDUHLQWKHUHFRYHU\

LQFDVHVnotEHIRUHWKH0'/´ 1XPHURXVFRXQVHOKDYHH[HFXWHG3DUWLFLSDWLRQ$JUHHPHQWVLQWKLV

0'/ 3ODLQWLIIV¶ &R/HDG &RXQVHO RU WKHLU GHVLJQHHV DUH KHUHE\ DXWKRUL]HG DQG GLUHFWHG WR

FRQGLWLRQVKDULQJRI0'/ZRUNSURGXFW LQFOXGLQJWKDWUHODWHGWRFRPPRQIDFWGLVFRYHU\GDWD

DQGGHYHORSPHQWRI0'/H[SHUWV RQWKHH[HFXWLRQRID3DUWLFLSDWLRQ$JUHHPHQWFRQVLVWHQWZLWK

WKLV2UGHU

         :KLOHWKHJOREDO'LVWULEXWRUVDQG-DQVVHQ6HWWOHPHQW$JUHHPHQWVZLOOGHIUD\VLJQLILFDQW

DFFUXHGFRPPRQEHQHILWVFRVWVDQGIHHVLWZLOOQRWIXOO\UHLPEXUVHRUFRPSHQVDWHDOORIWKHPQRU

ZLOOLWUHLPEXUVHRUFRPSHQVDWHWKHVXEVWDQWLDORQJRLQJZRUNWREHGRQH±LQFOXGLQJ  ZRUNLQ

WKLV0'/LQ2SLRLG&DVHVXSRQUHPDQGDQGLQRWKHURSLRLGUHODWHGSURFHHGLQJV  HIIRUWVLQ




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SXUVXLWRIFODLPVDJDLQVWQRQVHWWOLQJ'HIHQGDQWVDQG  ZLWKUHVSHFWWRWKHFDWHJRULHVRIDIIHFWHG

SODLQWLIIVQRWLQFOXGHGLQVHWWOHPHQWV HJ7KLUG3DUW\3D\RUVDQG+RVSLWDOV 

         ,WEHDUVQRWLQJWKDWWKHDPRXQWFROOHFWHGSXUVXDQWWRWKHDVVHVVPHQWLVnotQHFHVVDULO\

ZKDWWKH&RXUWZLOODZDUGWRHYHQWXDODSSOLFDQWVIRUFRPPRQEHQHILWDZDUGV7KH&RXUWPDQGDWHV

WKHDVVHVVPHQWRQO\WRHQVXUHDSSURSULDWHDZDUGVRIFRPPRQEHQHILWIHHVDQGH[SHQVHVDUH

SRVVLEOHWKH&RXUWKDVQRFXUUHQWRSLQLRQRQZKDWWKHWRWDODPRXQWRIDQ\VXFKDZDUGVZLOOEHRU

ZKRLVRUZLOOEHHOLJLEOHSee In re Sulzer Hip Prosthesis & Knee Prosthesis Liab. Litig)

6XSSG 1'2KLR  DZDUGLQJPLOOLRQLQFRPPRQEHQHILWIHHDZDUGVIURP

D  PLOOLRQ IXQG DQG GLUHFWLQJ WKH UHPDLQGHU VKRXOG EH XVHG IRU ³SD\PHQW RI FHUWDLQ FRVWV

DVVRFLDWHGZLWKHIIHFWXDWLQJWKHVHWWOHPHQWDQGLISRVVLEOHGLVWULEXWLRQWRWKHVHWWOHPHQWFODVV´ 

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        ,Q FRQQHFWLRQ ZLWK WKH 'LVWULEXWRUV DQG -DQVVHQ 6HWWOHPHQW $JUHHPHQWV WKH &RXUW

DSSRLQWHG D )HH 3DQHO WR RYHUVHH GLVWULEXWLRQ RI  %LOOLRQ LQ DWWRUQH\ IHHV LQFOXGLQJ 

0LOOLRQLQ&RPPRQ%HQHILW)HHVDQGWKH&RXUWDSSRLQWHG6SHFLDO0DVWHU&RKHQ ZKRLVD)HH

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SRUWLRQRIZKLFKLV&RPPRQ%HQHILW([SHQVHV7KH)HH3DQHODQG6SHFLDO0DVWHU&RKHQKDYH

HQJDJHGFRXQVHODQGDFFRXQWDQWVFUHDWHG7UXVWVDQGDUUDQJHGIRUWKHVHIXQGVWREHLQYHVWHGLQ

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  3URYLVLRQVDQGSURFHGXUHVIRUUHLPEXUVHPHQWRIFRPPRQFRVWVDQGFRPSHQVDWLRQIRUFRPPRQEHQHILWWLPHZLOOEH
PDGHLQIXUWKHU2UGHUV$WWKLVMXQFWXUHWKH&RXUWDQWLFLSDWHVRUGHULQJWKDWDQ\IXQGVKHOGEDFNE\'HIHQGDQWVWKDW
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FRXQVHOIURPZKRPWKHDVVHVVPHQWVZHUHKHOGEDFNKRZHYHUWKH&RXUWZLOOPDNHWKDWGHWHUPLQDWLRQDWDODWHUGDWH
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EHDGPLQLVWHUHGLQWKHVDPHZD\DQGXVHWKHVDPHDFFRXQWDQWVODZ\HUVLQYHVWPHQWDGYLVRUVDQG

VRRQ DVWKH3DQHOPD\FKRRVHRUFKDQJHZLWKLQWKHLUGLVFUHWLRQ 7KH&RXUWLVnotGLUHFWLQJWKH

)HH3DQHOWRXQGHUWDNHDQ\ZRUNWRZDUGGHWHUPLQLQJDZDUGVIURPWKLV&RXUW&RPPRQ%HQHILW

)XQG7KH&RXUWZLOOGHWHUPLQHDWDIXWXUHWLPHZLWKLQSXWIURPFRXQVHOZKHQDQGKRZVXFK

DZDUGVZLOOEHPDGH

         $FFRUGLQJO\WKH&RXUWKHUE\DSSRLQWV'DYLG5&RKHQ5DQGL6(OOLVDQG+RQ'DYLG5

+HUQGRQ WKH³)HH3DQHO´ WRDGPLQLVWHUDQGRYHUVHHWKH&RXUW&RPPRQ%HQHILW)XQGSXUVXDQW

WRDQGLQDPDQQHUFRQVLVWHQWLQDOOUHVSHFWVZLWKWKH&RXUW¶V$XJXVW2UGHU GRFNHWQR

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RSHUDWHGLQDPDQQHUVRWKDWLWTXDOLILHVDVD³TXDOLILHGVHWWOHPHQWIXQG´DVGHVFULEHGLQ7UHDVXU\

5HJXODWLRQV6HFWLRQ%DQGVKDOOUHPDLQVXEMHFWWRWKHFRQWLQXLQJMXULVGLFWLRQRIWKLV&RXUW

6SHFLDO0DVWHU'DYLG5&RKHQVKDOOVHUYHDV7UXVWHHDQG$GPLQLVWUDWRURIWKHTXDOLILHGVHWWOHPHQW

IXQGIRUSXUSRVHVRI7UHDVXU\5HJXODWLRQV6HFWLRQ% N  DQGVKDOOEHUHVSRQVLEOHIRU

PDNLQJDQ\QHFHVVDU\WD[ILOLQJVDQGSD\PHQWVRIWD[HVHVWLPDWHGWD[HVDQGDVVRFLDWHGLQWHUHVW

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  7KH&RXUWLVDOVRRYHUVHHLQJD&RPPRQ%HQHILW)XQGDVVRFLDWHGRQO\ZLWK7UDFN2QHVHWWOHPHQWVSeeOrder
Establishing Common Benefit Fee Fund and Directing Certain Payments GRFNHWQR Order Appointing
Certified Public Accountant to Maintain and Act as Escrow Agent for the Common Benefit Fee Fund GRFNHWQR
 7KH&RXUWDOVRGLUHFWVHVFURZDJHQW0U*UHJJRU\'DQWLRWRFRRUGLQDWHZLWK6SHFLDO0DVWHU&RKHQWRWDNH
DGYDQWDJHRILQYHVWPHQWDGYLVRUVKLUHGE\WKH)HH3DQHO
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&RPPRQ%HQHILWDVVHVVPHQWRIRIJURVVUHFRYHULHVIURPDQ\2SLRLG&DVHWKDW  LVQRW

EURXJKWE\D6WDWH$WWRUQH\*HQHUDODQG  LVQRWRWKHUZLVHLQFOXGHGLQDJOREDOVHWWOHPHQWWKDW

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DVVHVVPHQWLVSD\DEOHIURPWKHDWWRUQH\V¶IHHSRUWLRQVRIVXFKJURVVUHFRYHULHVDQGDSSOLHVWRDOO

VHWWOHPHQWV UHDFKHG DQG MXGJPHQWV HQWHUHG DIWHU WKH GDWH RI WKLV 2UGHU  ,I WKH  DPRXQW

H[FHHGV RQHKDOI ò  RI FRXQVHO¶V WRWDO FRQWLQJHQF\ IHH IRU D JLYHQ FOLHQW WKHQ WKH FRQWLQJHQW

DVVHVVPHQW ZLOO LQVWHDG EH OLPLWHG WR RQHKDOI ò  RI WKH FRQWLQJHQF\ IHH RI FRXQVHO RQ HDFK

VHWWOHPHQWRUMXGJPHQWXQOHVVDSULRURUVXEVHTXHQW2UGHURIWKLV&RXUWVWDWHVRWKHUZLVH

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        3ODLQWLII &R/HDG DQG /LDLVRQ &RXQVHO RU WKHLU GHVLJQHHV DUH KHUHE\ DXWKRUL]HG DQG

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UHJDUGOHVV RI ZKHUH RU ZKHWKHU WKHLU FDVHV RU FODLPV DUH ILOHG DV D FRQGLWLRQ RI DFFHVV WR DQG

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DSSOLFDWLRQV DUH UHFHLYHG DQG ZHLJKHG WKH &RXUW DQG LWV DGYLVRUV VKDUSHQ WKHLU SHQFLOV DQG

FRPPRQEHQHILWDZDUGVDUHFDUHIXOO\FUDIWHGDQGLVVXHGWKDWWKHLQVWUXPHQWRIDFRPPRQEHQHILW

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DVQHFHVVDU\UHJDUGLQJWKHRSHUDWLRQSD\PHQWDOORFDWLRQDZDUGDQGGLVWULEXWLRQRIIXQGVKHOG

EDFNSXUVXDQWWRWKLVFRPPRQEHQHILWDVVHVVPHQWLQFOXGLQJUHWXUQRIFROOHFWHGIXQGVLIDSSOLFDEOH

,QWKHPHDQWLPHWKLV2UGHUHQVXUHVWKDWIXWXUHDSSURSULDWHFRPPRQEHQHILWDZDUGVDUHSRVVLEOH

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        $OORIWKDWVDLGWKH&RXUWUHFRJQL]HVWKDWWKHSDUWLFXODUFLUFXPVWDQFHVRIDVHWWOHPHQWRU

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